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                                                                               FILED
                    UNITED STATES COURT OF APPEALS                             AUG 22 2017

                                                                            MOLLY C. DWYER, CLERK
                            FOR THE NINTH CIRCUIT                            U.S. COURT OF APPEALS




PETRO STAR, INC.,                                No. 16-35470

              Plaintiff-Appellant,               D.C. No. 3:11-cv-00064-RRB
                                                 District of Alaska,
 v.                                              Anchorage

BP OIL SUPPLY CO.; BP PRODUCTS
NORTH AMERICA, INC.,                             ORDER

              Defendants-Appellees.


Before: GRABER, CLIFTON, and M. SMITH, Circuit Judges.

      The parties have agreed to pursue settlement discussions with the assistance

of the Circuit Mediation Office. The appeal is referred to the Mediation Office and

deferral of the case will continue pending further order of the court.

      The Circuit Mediator will contact the parties to schedule mediation and shall

provide a status report to the panel within 60 days following this order.




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